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           USCA11 Case: 20-13730 Date Filed: 07/06/2022 Page: 1 of 2


                                        CORRECTED

                      IN THE UNITED STATES COURT OF APPEALS

                               FOR THE ELEVENTH CIRCUIT
                                 ________________________

                                     No. 20-13730-AA
                                 ________________________

DONNA CURLING, an individual,
COALITION FOR GOOD GOVERNANCE,
 DONNA PRICE,
JEFFREY SCHOENBERG,
LAURA DIGGES, et al.,

                                                  Plaintiffs - Appellees,

versus

SECRETARY OF STATE FOR THE STATE OF GEORGIA,
GEORGIA STATE ELECTION BOARD,
DAVID J. WORLEY,
REBECCA N. SULLIVAN,
STATE ELECTION BOARD,
AHN LE,
MATTHEW MASHBURN,

                                                  Defendants - Appellants.

                                 ________________________

                                      No. 20-14067-AA
                                 ________________________

DONNA CURLING,
an individual,
COALITION FOR GOOD GOVERNANCE,
a non-profit corporation organized and existing
under Colorado Law,
DONNA PRICE,
an Individual,
JEFFREY SCHOENBERG,
an Individual,
LAURA DIGGES,
an Individual, et al.,
         Case 1:17-cv-02989-AT Document 1414-1 Filed 07/06/22 Page 2 of 2
           USCA11 Case: 20-13730 Date Filed: 07/06/2022 Page: 2 of 2


                                                       Plaintiffs - Appellees,

versus

BRIAN P. KEMP,
in his individual capacity and his official capacity as
Secretary of State of Georgia and Chair of the
State Election Board, et al.,

                                                       Defendants,

DAVID J. WORLEY,
REBECCA N. SULLIVAN,
BRAD RAFFENSPERGER,
in his individual capacity and his official capacity
as Secretary of State of Georgia and Chair of the
State Election Board,
ANH LE,
MATTHEW MASHBURN,

                                                Defendants - Appellants.
                                   ________________________

                           Appeals from the United States District Court
                               for the Northern District of Georgia
                                  ________________________

ORDER:

         Attorney Michael F. Qian’s motion to withdraw as counsel is GRANTED.




                                                                                     DAVID J. SMITH
                                                                     Clerk of the United States Court of
                                                                       Appeals for the Eleventh Circuit

                                                ENTERED FOR THE COURT - BY DIRECTION
